                       Case 3:18-cv-01020-SDD-EWD Document 1-1                                                11/16/18 Page 1 of 7
EEOC Form 5 (11/09)


                      CHARGE OF DISCRIMINATION                                                           Charge Presented To:              Agency(ies) Charge No(s):
            This form is affected by the Privacy Act of 1974. See enclosed Privacy Act                            FEPA
                   Statement and other information before completing this form.
                                                                                                             x EEOC                           461-2018-00239
                                                        Louisiana Commission On Human Rights                                                               and EEOC
                                                                         State or local Agency, if any

Name (indicate Mr., Ms., Mrs.)                                                                                    Home Phone (tncl. Area Code)            Date of Birth

Ms. Stacey M. Williams                                                                                               (225)454-2162
Street Address                                                                  City, State and ZiP Code

8522 Rush Avenue, Apt B, Baton Rouge, LA 70810


Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe
Discriminated Against Me or Others. {If more than two, list under PARTICULARS below.}
Name                                                                                                              No. Employges? Members      Phone No. (Include Area Code)

MAGNOLIA CAFE                                                                                                         15-100                     (225) 635-6528
Street Address City, State and Z!P Code

5689 Commerce Street, Saint Francisville, LA 70775


Name                                                                                                              No, Employees, Members | Phone No. (Include Area Code)




Street Address                                                                  City, State and ZIP Code




DISCRIMINATION BASED ON (Check appropriate box(es).)                                                                      DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                                  Earliest Latest

         RACE                COLOR                  SEX                RELIGION               NATIONAL ORIGIN                06-30-2017                 10-24-2017
                 RETALIATION              AGE               DISABILITY                   GENETIC INFORMATION
                       OTHER (Specify)                                                                                                     CONTINUING ACTION

THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):
  I began my employment wjth Magnolia Cafe in April 2017. Throughout my employment, I was treated
  differently and paid less th'an other Managers. From September 23, 2017 through September 26,
 2017,1 learned that I was being demoted effective immediately. "Gn-OGtober-24r2047rl was—
 diseharged'as-a'Kitchefl-Ma^iager earning $12.50 per hour. The company employs over 15 persons.

  No-reason-wa&'givenjfotihe actions takenjaQainstme.-

  I believe I have been discriminated against because of my race, Black, and color, in violation of Title
 VH of the Civil Rights Act of 1964, in that, my White co-workers, Kristi Mendel, Brandon Sullivan and
 C. Mark McEastern do not work line; do not prep or cook but were paid more than me. Further, I was
 told that I was one of the best Kitchen Managers that they ever had and that none of the other
  Managers could cook, prep and get the food out in a timely manner.


i want this charge filed with both the EEOC and the State or local Agency, if any. I         NOTARY ~ When necessary for Stale and Local Agency RequirQments
will advise the agencies if ! change my address or phone number and I will
cooperate fuily with them in the processing of my charge in accordance with their
procedures.                                                                                  I swear or affirm that I have read the above charge and that it is true to
 declare under penalty of perjury that the above is true and correct.                        the best of my knowledge, information and belief.
                                                                                             SIGNATURE OF COMPLAINANT
                                                                     ^&.i l^^-C^



    .^w//                                                           L^h^-^
                                                                                             SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                                                                             {month, day, year)
        ~TKT                                   C/iar;     Party Signature /4r€^
                                                                        {^-n-^^^i
                                                                                         C7
           Case 3:18-cv-01020-SDD-EWD Document 1-1                       /3y
                                                              11/16/18 Page 2 of 7//<!.


                               FROM:STACEY WILLIAMS

                                8522 RUSH AVE.APT.B

                                BATON ROUGE/LA. 70810

                                PHN#225 454-2162 CHARGE NO. 461-2018-00239




ATTENTIONJENNIFERORTIZADR COORDINATOR

TO; EEOC

HALE BOGGS FEDERAL BUILDING

500 POYDRAS STREET/SUITE 809

NEWORLEANS,LA.70130




           I RECEIVED A LETTER FROM EEOC NEW ORLEANS BRANCH ON APRIL 02,2018 THAT
INCLUDED A NUMBER OF ITEMS A CHARGE OF DISCRIMINATION TYPED BY EEOC !N REGARDS TO
COMPLAINTS/CHARGE (DISCRIMINATION & UNFAIRNESS) FILED IN OCTOBER 2017 AGAINST MAGNOLIA
CAF£ LOCATED IN ST.FRANCISVILLE LA .70775 DURING THE TIME 1 WAS EMPLOYED THERE..! ALSO LISTED
IN MY COMPLAINT OR CHARGE ALL OF MY CO WORKERS WHO SUFFERED FROM DISCRIMINATION ..

IN THE CHARGE T/PED BY EEOC REP IT INDICATES THAT I WAS INFORMED I WAS BEING DEMOTED
EFFECTIVE IMMEDIATELY ROBIN S CHOICE OF WORDS THAT DAYWERE PUZZLING ,AS SHE SAW MY
REACTION IT WAS SEPTEMBER 26,2017 THAT ROBIN S DAUGHTER SKYE WILLIS MADE IT CLEAR THAT I
WAS BEING DEMOTED EEFECTIVE SEPT. 27,2017 SHOULD HAVE BEEN AWED WHEN THE TRANSITION
TOOK PLACE I WAS NOTIFIED TUES..

IN THE CHARGE T^PED BY EEOC REP.IT DOES NOT LIST ANYTHING ABOUT ROBIN MARSHALL ASKING ME
NOTTO DISCIPLINE THE WHITE EMPLOYEES AS hSENT IN MY COMPLAINTS .CYNTHIA BERTRAND, MIKE
WHITE OR MICHEAL WHITE,OR SEANJUNOT THIS NEEDS TO BE INCLUDED,NOR DOES IT INDICATE THAT
I QUIT MY JOB DUE TO DISCRIMINATION ETC. ON OCTOBER 24,2017.. MY LAST DAY ON MAGNOLIA CAF^
PREMISES WAS ABTTEN DAYS PRIOR TO OCT.24,2017. I REMEMBERJ0ULUNG OFF MY SHOES AND FEET
SORE AND BLODY ,AND MY BACK ACHING FROM WORKING 12HRS. THAT DAY NO BREAK ETC.THE
CHARGED T/PED BY EEOC DOES NOT INDICATE ANY OF THIS INFORMATION ..IT DEFINITELY NEEDS TO BE
CORRECTED WHERE IT SAYS I WAS DISCHARGED AND THAT'S NOT THE CASE I QUIT DUE TO MULTIPLE
REASONS .. IT ALSO INDICATES THAT I SHOULD SIGN AND RETURN THE CHARGE T?ED BY EEOC REP
THAT INCLUDES FALSE STATEMENTS MOST IS TRUE BUT THAT IN WHICH I POINT IN THIS LETTER TiTED
BY EEOC NEEDS TO CORRECTED BEFORE I AGREE OR SIGN MY SIGNATURE ON ANYTHING WITH FALSE
INFORMATION JM ONLY POINTING OUT THE TRUTH OR FACTS IN ANY CHARGE IN CONNECTION TO ME
       Case 3:18-cv-01020-SDD-EWD Document 1-1             11/16/18 Page 3 of 7


) WOULD ALSO UKE A COPY OF THIS LETTER INCLUDED IN EEOCNUM/461-2018-00239 I ALSO WOULD
LIKE A COPY OF ALL INFO SENTTO LOUISIANA COMMISSION ON HUMAN RIGHTS FROM EEOC !N
REGARDS TO CHARGE NUM 461-2018-00239 BEFORE MYSEPERATION MARK MCEACHERN DID A LITTLE
BIT OF PREP SLICED COLD CUTS AND PEELED SHRIMP AND PAT BURGERS ..I DON'T RECALL ANYTHING
ELSE !N PARTICULAR EXCEPT ORGANIZING SHELVES AND CLEANING OUT SHACKS OR CARRYING FOOD
OUT TO A FEW TABLES AND DIDN'T GET THAT CORRECT OFTEN BECAUSE AT THAT TIME HE COULDN'T
IDENTIFY ALL THE MENU ITEMS ..ONCE THIS INFORMATION IS CORRECTED I WILL SIGN THE CHHARGE
FILED BUT THE CHARGE BY EEOC NEEDS TYPOS CORRECTED AND ALL THE FACTS ACCORDING TO MY
INITIAL COMPLAINTS FILED iN OCTOBER 2017 ..

                           THANKS FOR YOUR ATTENTION TO THIS MATTER

                             SINCERELY STACEY WILLIAMS
                           Case 3:18-cv-01020-SDD-EWD Document 1-1                              11/16/18 Page 4 of 7
 •EEOC Form 161-6(11/16)                     U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                           NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)
 To: Stacey M. Williams                                                                  From: New Orleans Field Office
      8522 Rush Avenue                                                                          Hale Boggs Federal Building
        Apt B                                                                                   500 Poydras Street, Room 809
        Baton Rouge, LA 70810                                                                   New Orleans, LA 70130




                    On behalf of person(s) aggrieved whose identity is
                    CONFIDENTIAL (29 CFR §1601.7(a))

 EEOC Charge No.                                            EEOC Representative                                           Telephone No,

                                                            Ligita D. Landry,
 461-2018-00239                                             Enforcement Supervisor                                        (504)595-2876
                                                                                      (See also the additional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED:
Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GiNA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title Vil, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time iimit for filing suit based on a claim under
state law may be different.)

                    More than 180 days have passed since the filing of this charge.

                    Less than 180 days have passed since the filing of this charge, but I have determined that it is unlikely that the EEOC wii
                    be able to complete its administrative processing within 180 days from the filing of this charge.

                 The EEOC is terminating its processing of this charge.

                 The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge, in this regard, the paragraph marked below applies to
your case:

                 The EEOC is closing your case. Therefore, your iawsuit under the ADEA must be filed in federal or state court WITHIN
                 90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.


                 The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
                 you may file suit in federal or state court under the ADEA at this time. :

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) ERA suits must be brought
in federal or state court within 2 years (3 years for wilifui vioiations) of the alleged EPA underpayment. Thso meGns that fcackpay due for
any violations that occurred more than 2_years (3 vearsl before you file suit may not be collectibie.


If you fiie suit, based on this charge, please send a copy of your court complaint to this office.


                                                                           On behalf of the Commission



                                                            ry5^d^ ^                                                         AUG 2 0 2018
 End os u res (s)                                                           Keith T. Hill,                                     (Date Mailed)
                                                                              Director

ec:           Michael 0. Hesse
              11729 Ferdinand St
              Saint Francisville, LA 70775
                  Case 3:18-cv-01020-SDD-EWD Document 1-1                       11/16/18 Page 5 of 7
hnclosure with EEOC
Form 161-BC)1/16)

                                       INFORMATION RELATED TO FILING SUIT
                                     UNDER THE LAWS ENFORCED BY THE EEOC

                      (This information relates to filing suit in Federal or State court under Federal law. '•
             !f you also plan to sue claiming violations of State law, please be aware that time limits and other
                    provisions of State law may be shorter or more limited than those described below.) :

                                  Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
                                  the Genetic Information Nondiscrimination Act (GINA), or the Age
                                  Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondents) named in the charge within
90 days of the date you rece/Ve this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. if you intend to
consuit an attorney, you should do so promptiy. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mciiiedto you (as
indicated where the Notice is signed) or the date of the postmark, if later.
Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil tria! court.) Whether you fiie in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court, if so, you should remove your birth date from the
charge. Some courts will not accept your:comp!aint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.


PRIVATE SUIT RIGHTS " Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alieged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the ERA for work performed from 7/1/08 to 12/1/08, you shouid;file suit
before 7/1/10 - not 12/1/10 " in order to recover unpaid wages due for Ju!y 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title Vil, the ADA, GiNA or the ADEA referred to above.
Therefore, if you also plan to sue under Title V!l, the ADA, GINA or the ADEA, in addition to suing on the EPA
dasrn, suit must be filed within 9Q dsys of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION ~" Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because s.uch requests do not relieve you of the requirement to bring suit within 90 days. ;


ATTORNEY REFERRAL AND EEOC ASSISTANCE " All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S, District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's fiie on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made                  within              the         next             90       days.)               •      :

                 IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
'\
                        Case 3:18-cv-01020-SDD-EWD Document 1-1                                                         11/16/18 Page 6 of 7
p~S5'/18/^018 13:49                         225—7&13785                                            FEDEX OFFICE                  0167                                   PAGE 02
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                             CHARGE OF DISCRIMINATION                                                          Charge Presented                        Agency(ies) Charge No(s):
                   This form la gffetisd by the Privsoy Ad of 1974. Ssa fincloafid Pri-rtiey Ad
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                                                                                                                         EEO                               461-2018-00239
                                                            Louisiana Commi^ipn On Human Rlgh                                                                           and EEOC
                                                                                  State orlocQlAgww, /fyny
      Name (IncUcat^ Mr,, fvfs.i kffs.)                                                                                   Horn Phoiw 'nd. A Kit Code)                  Dals of Birth

      Ms. Stacey IV1. Williams                                                                                                  25)4|54-'/162
      StceatA(?W                                                                         City, Staft? and ZfP Code

      8522 Rush Avenue, Apt B, Baton Rouge, LA 70810


      N^mecf is the Employsr, Lsbor Organfzatlon, Emptoymerti Ageqc/y, Apprenticeship Committee, or StaEe or l.o&af C|wism ndnt Agency That I Beiisv^
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      Nam?                                                                                                                      ptoyeag, ^errAoi a        phone No. pncftftte Area Coffe)

      MAGNOLIA CAFE                                                                                                             5-1                          (225) 535-6528
      Slrssi AddfBaa City, Stalfi and ZIP Ccm&

      6689 Commerce Street, Safnt Francisvilfe, LA 70775


      Mama                                                                                                                      ipldyaci   iBfnbv i | Ptonc No. ?cf0(fe Affp CwfeJ



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     DISCRIMINATION BASED ON (Check ffwnjpwk hox(w).)                                                                                      S) DlEt^lMlNATiONTOOK PLACE
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                     RETAtlATION                 AGE       L_-J &tsAalLlrY | ^ (?ENET!C INFORMATION
                      j--~] OTHER iSpvdfy)
                                                                                                                                           L:          COMTlNUtNS ACTtON
     THE PARTtGULARfiARE (if adsSSanaf paper ia needBCf, aliach e^ra shee({a)}:
       I began my employment with IVIagnolia Cafe in April 2017. Throughout |ny ejnployment, I was treated
       differently and paid less than other Managers, Robin IVfarshall asked njie to|oia •£ite Cynthia
       Bertrand's cursing me out. employees, and wait staff and management Profaru iand vulgar language
       was used on a regular basis. iVHchael White was allowed to use vulgar [angi^yg<; towards me and
       other manaigers (Black) before me and threatened to fight the managen F4m iie'ptember 23, 2017
       through September 26, 2017,1 learned that I was being demoted effect^ ^efm|nedi£tteEy. On October
       24, 2017,1 quit my job as a Kitchen n/Ianager earning $12.50 per hour. the c^mp:itfiy employs over 15
       persons.


       reason was given in September 2017 by Robin Marshall and SkyeWilli^ for lemoting but they g^ve                                                                                       '^
                                                                                                                                                                                                 1a.
       excuses fo ciemote me because 1 was Black and fair in decision maklnfll and /van hid to discipline all.
       employees the same, not Just give verbal warning to Black^write-yp5,|etc.j f th;-rules, etc., were.
       broken by employees. ^^ ^A^^\ ^Uff^-r^^^f^^- -/3^ ^                                                                                 ^(i'lc.cAnw-/ /(SS^-.^O/ spt^.

     I want this charga filed with bo? the EEOG 9nd th? St3ts or [OC9t Ag$ncy(. \tany,              MQTARY - WhSn rt{^<?SM Krsta           and .veal AQ^W RectuifefWt\ts
     will advise tha ageinciea if f cliange my addre^g or phone number snd | will
     cooparetg fully with Sham in tha processing of my <;h?rg? in accorcfsnce V^EH tnelf
     procadures.                                                                                    i sw&ar or affirm that ! )i; ve res' the E hove change and that ii is true to
      declare under penatty of perjury that the above is true snd correct.                          the t>esf of my knowledge;, infer alter s.nd beifef.
                                                                                                    SIGMATURE OF COMPLAIN JANT

                                                                                 f ^^_
                                                                                                    SUBSCRiBED AND SWOR: TO B^ORR ME THIS DATE
              $m•^Ssr.                                                 ^                            (mon?, day. ygar)

                 lat6                                Chd^fa Party Siynalufv
                     Case 3:18-cv-01020-SDD-EWD Document 1-1                                                        11/16/18 Page 7 of 7

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05/18/2018 13:49 225—7613785                                                                FEDEX OFFICE                                                      'r'

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                      .CHARGE OF DlSCRlMiNATION                                                         Ciigrge Prese|nted               Agency(ies) Charge No(s):
              Th's form la affected by lh6 Pn'vacy Act of 1974. Ses enclosed Privacy A<rt
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                                                       Louisiana Commission On Humgn Right|                                                                 and EEQC
                                                                            State oriwalAgewy. if any



   I believe I have befin discriminated against because of my race, Black, md (joloii in violation of Title
   VU ofth6 Civfl Rights Act of 1964, in that, my White co-workers, Kristf Rjl[enc(^ Ei'andon Sullivan and
   C. iVlark McEastern do not work line; do not prep or cook but were psldj morlthisn me. Further, I was
   told that I was one of the best Kitchen IVIanagers that they ever had ancf th^tlnom1 of the other
   iVtanagers could cook, prep and get the food out in a timely manner.




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  Swanl Ehis chsrge fllfid v/rth both tfie EEOG'and (he 2tete or local Agenvy, If any. I      NOTAW - Whm wcesaav 'fff$(^anclL^!AganeyiRew!?fnQnh
  w'fi advise ihe agftrtdss if f chgnge my addreaa or phons nLfmbsr pnd) will .
  coopergte ftjlly wiih them in the piucgssififl of my cjiarfla m acoo^gjite with their
  procedures.                                                                                 ) swear or affirm that I ha\ie read |hs at ;i"e charga and thai it is true So
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